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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 DataTern, Inc.,                                   §
                                                   §
          Plaintiff,                               §
                                                   §
          v.                                       §     Civil Action No. 2:11-cv-00203-TJW-CE
                                                   §
 Abbott Laboratories, et al.                       §     JURY TRIAL DEMANDED
                                                   §
          Defendants.                              §


                          ORDER OF DISMISSAL WITH PREJUDICE

          In consideration of the Joint Motion for Dismissal of all claims with prejudice and all

 counterclaims as moot asserted between Plaintiff DataTern, Inc. and Defendant Pfizer, Inc., the

 Joint Motion for Dismissal is GRANTED, and it is ORDERED, ADJUDGED, AND DECREED

 that all claims asserted in this suit between Plaintiff and Defendant are hereby dismissed with

 prejudice and all counterclaims are dismissed as moot, subject to the terms of that certain

 agreement entitled “SETTLEMENT AGREEMENT”, entered into and effective December 2,

. 2011.
          It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

 incurred them.

          SO ORDERED.

          SIGNED this 15th day of December, 2011.




                                                       ____________________________________
                                                       DAVID FOLSOM
                                                       UNITED STATES DISTRICT JUDGE
